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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

____________________________________
ELIZABETH CRAIG,                     )
                                     )
      Plaintiff,                     )
                                     )
v.                                   )                 CIVIL ACTION NO.: 2:11-cv-01269
                                     )
PORTFOLIO RECOVERY ASSOCIATES, )                       NOTICE OF SETTLEMENT
LLC,                                 )
                                     )
      Defendant.                     )
____________________________________)


                                   NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, ELIZABETH CRAIG , by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the

next 30 days.

       Plaintiff therefore requests that this honorable Court vacate all dates currently set on

calendar for the present matter.

Dated: November 3, 2011                                KROHN & MOSS, LTD.


                                                       RESPECTFULLY SUBMITTED,

                                                     _/s/Jonathan Cohen
                                                      Jonathan Cohen
                                                      Attorney for Plaintiff
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 3, 2011, I electronically filed the foregoing Notice of
Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was
mailed to the address listed below:

       Portfolio Recovery Associates, LLC
       120 Corporate Blvd.Suite 1
       Norfolk VA 23502



                                                           /s/ Jonathan Cohen
                                                           Jonathan Cohen
                                                           Attorney for Plaintiff
